






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00633-CR






Rosa Estella Jimenez, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NO. D-1-DC-04-904165, HONORABLE JON N. WISSER, JUDGE PRESIDING





O P I N I O N


		The jury convicted Rosa Estella Jimenez of the offenses of felony murder and injury
to a child.  See Tex. Penal Code Ann. § 19.02(b)(3) (West 2003), § 22.04(a)(1) (West Supp. 2006). 
Punishment was assessed at 75 years' imprisonment for felony murder and 99 years' imprisonment
for injury to a child.  In five points of error, Jimenez challenges the legal and factual sufficiency of
the evidence supporting her convictions, complains of prosecutorial misconduct, alleges ineffective
assistance of counsel, and asserts a double jeopardy violation.  We affirm the judgment.


BACKGROUND

		The jury heard evidence that on January 30, 2003, Jimenez, a 20-year-old woman,
was babysitting B.G., the 21-month-old child of Victoria Gutierrez.  Gutierrez testified that Jimenez
babysat B.G. two or three times a week, at Jimenez's apartment, during the day while Gutierrez
worked.  Gutierrez testified that B.G. liked to play with objects in her kitchen and "take everything
out."  Gutierrez recounted how B.G. liked to "drop" the objects from the kitchen into the toilet. 
Gutierrez also explained that B.G. liked to play with paper and that he once placed an entire roll of
toilet paper into the toilet.  Gutierrez emphasized, however, that B.G. never put paper
towels&nbsp;in&nbsp;his&nbsp;mouth.     		

		Irene Vera was Jimenez's neighbor.  Vera testified that on the day of the incident,
Jimenez came to her door crying, asking for help, and holding B.G., who looked "limp and purple." 
Vera asked Jimenez to tell her what had happened.  Jimenez responded that she thought B.G. had
swallowed something.  Vera took B.G. from Jimenez, placed him on the floor, and attempted to
check the inside of his mouth.  However, she could not get her finger very far into B.G.'s mouth
because he kept biting down on it.  Vera noticed "a little bit of blood" in B.G.'s saliva "coming out
the sides of his mouth."  The blood appeared to be fresh. 

		Vera tried to ascertain more details from Jimenez about what had happened to B.G. 
Jimenez, according to Vera, explained that B.G. had been walking toward Jimenez when she saw
that B.G. was choking.  B.G. then fell to the floor.   Jimenez picked him up and "started slapping him
on the back" to try to dislodge whatever was choking him.  Jimenez also put her fingers in B.G.'s
mouth and looked inside but could not find anything.  According to Vera, Jimenez thought that B.G.
might be choking on a toy.  Jimenez told Vera that she immediately brought B.G. over
to&nbsp;Vera's&nbsp;apartment.

		While Vera was trying to help B.G., another neighbor, Paula Salinas, called 911.  The
conversation between Salinas and the 911 dispatcher was transcribed and admitted into evidence. 
Salinas first told the dispatcher that it looked like B.G. was not breathing, that he was bleeding from
the mouth, and that he was already dead.  The dispatcher instructed Salinas to get closer to B.G., and
once she did, Salinas reported that B.G. was still breathing and that it looked like he was trying to
throw up.  When a police officer arrived at the scene, the dispatcher heard the officer state, "No
pulse, not breathing, CPR in progress."  The dispatcher testified that sometimes lay people mistake
"agonal" respirations for breathing, and that this could explain the discrepancy between Salinas's
statement that the child was breathing and the officer's statement that the child was not breathing. 
The dispatcher testified that the time between when a person stops breathing and the time a person
can no longer move is four to six minutes.  The dispatcher remained on the phone throughout the
incident.  The dispatcher recorded the following times during the call:


13:28	911 call comes in


13:31	Police officer arrives


13:32	EMS arrives


14:20	EMS closes out the call (which is when, according to the dispatcher, EMS
transports the patient to the hospital).



		The Austin Police Department officer who responded to the 911 call was William
Torres.  Officer Torres also testified at trial.  When Officer Torres arrived at the apartment, he
noticed B.G. lying on the floor on his back with Vera kneeling on his right side, checking his
breathing.  Torres immediately knelt down on B.G.'s left side, lifted and held B.G.'s head and neck,
listened for a breath, and checked for signs of life.  Torres could not feel a pulse.  He explained:


He had a little bit of blood on his cheek, but there was no movement at all. . . .  His
eyes were wide open.  They wouldn't even move.  His lips were blue and starting to
get puffy.  His mouth was open but not all the way. . . .  Because I remember when
I put--I tried to put my finger in there, it would only go about half way.


Torres then performed CPR on B.G.  B.G. did not respond, and this indicated to Torres that "the
airway [was] not going through to his chest" and that there was something stuck in B.G.'s throat.  

		Shortly after EMS arrived and began treating the child, Torres went outside the
apartment to check on Jimenez, whom Torres initially had assumed was B.G.'s mother.  Torres
testified that Jimenez was crying and screaming, "How is he?  How is he?  Is he okay?  Is he okay?" 
Torres replied that he did not know.  One of the EMS technicians came outside and asked if B.G.
had swallowed anything.  According to Torres, Jimenez responded that B.G. had been playing with
toys, but that she did not know what he had swallowed.

		Torres began asking Jimenez questions to obtain additional information about B.G. 
Torres soon discovered that B.G. was not Jimenez's child.  He asked Jimenez if she knew how to
contact B.G.'s mother.  Jimenez responded that she had written the mother's telephone number on
a magazine in her apartment.  Torres then accompanied Jimenez to her apartment to search for the
magazine.  Torres testified that while they were looking for the magazine, Jimenez explained
repeatedly that B.G. and Jimenez's one-year-old daughter had been playing with toys while Jimenez
was cooking, and that while she was cooking, she called out for B.G. to bring her a roll of paper
towels.  When B.G. did not respond, Jimenez went to look for him and found him lying on the floor
and not breathing. 

		Jordan Rojo, one of the EMS paramedics, testified that when she and fellow
paramedic Rob Curr arrived at the scene, they observed that B.G. was not breathing and had no
pulse.  His lips had already turned blue from lack of oxygen.  Rojo opened B.G.'s mouth with her
hand, looked down his mouth, and found no obstruction.  Rojo attempted unsuccessfully to force air
into B.G.'s lungs.  Curr then attempted to intubate B.G. (1)  With the aid of a laryngoscope, Curr
noticed an obstruction "entirely covering the trachea."  Using forceps, Curr attempted to remove the
object.  Curr immediately noticed that the obstruction was "falling apart," and initially he was only
able to dislodge two "dime-sized" pieces of it.  Rojo, who believed  that B.G. was choking on food,
asked Curr if the object was brisket because "it was red and kind of looked fleshy like meat."  Curr
told her that it was paper.  On the third attempt to remove the obstruction, Curr pulled out the
remainder of the object.  Curr testified that when the object finally dislodged, "it made a very sickly
sucking sound."  Because of the object's size, Curr had difficulty extracting it past B.G.'s teeth. 
Rojo described the object as a "large mass" of "blood soaked" (2) paper towels, "the size of
a&nbsp;large&nbsp;egg." (3)

		Rojo explained that she was shocked at the size of the mass, how far into B.G.'s
airway it had been lodged, and the amount of blood on it.  She testified that at this point, she no
longer believed that B.G. had accidentally choked.  Curr testified that he was also surprised, as he
was expecting to find "a food product or a toy" because "[t]hat's typically what children choke on." 
He was not expecting to find "a wad of paper towels."

		The paramedics then transported B.G. to the hospital.  Board-certified pediatric
emergency physician John Boulet treated him in the emergency room.  Dr. Boulet testified that B.G.
was "completely comatose" by the time the child arrived in the ER.  One of the paramedics showed
Boulet the wad of paper towels that had been recovered from B.G.'s throat.  Boulet recounted that
the wad appeared to be close to the size of his fist.  Boulet testified that in his opinion, an object of
such a size would not go down a child's airway accidentally, that "it would have to be put down
there."  Boulet was also asked his opinion regarding whether a 21-month-old child would be capable
of putting an object of that size "down that far into his airway."  Boulet stated that a 21-month-old
child would not be capable of such an act because the child's gag reflex would prevent the child from
pushing such an object that far down his throat.

		Dr. Patricia Oehring, a pediatric intensivist who specializes in the critical care of
children, treated B.G. following his transfer from the emergency room to the intensive care unit. 
Dr.&nbsp;Oehring testified that B.G. had suffered a "hypoxic brain injury" due to lack of oxygen caused
by the obstruction in his airway.  Oehring also explained that B.G.'s brain had been deprived of
adequate oxygen for "probably 30 or 40 minutes" and that this was "absolutely not" consistent with
Jimenez's claim that she "immediately" rushed B.G. over to Vera's apartment once she discovered
B.G. choking.  Oehring further testified that it takes as long as 45 minutes to an hour for a heart to
stop beating after being completely deprived of oxygen.  

		A few hours after B.G. had been admitted to the hospital, Oehring was shown a
picture of the obstruction.  Oehring testified that "it looked like an organ that had been removed from
a body, actually.  It was not identifiable as paper towels."  She further described it as a "clump of
white tissue that was covered with blood."  Oehring explained in great detail, without objection from
defense counsel, why she believed that it was not possible for B.G. to place this object
down&nbsp;his&nbsp;throat:


There is no way that [B.G.] put this in his mouth . . . all by himself. . . .  By the time
a child is almost two, they have other ways to explore their environment.  They don't
. . . explore it by mouthing things. . . .


Two year olds definitely put things in their mouths, but . . . by the time they're almost
two, they put things in their mouths that either look like they're going to taste like
candy or they look like food or they look like something to drink.  They drink lamp
oil.  They put beads in their mouth . . . .  If it doesn't taste good or have an interesting
texture, they're not going to leave it in their mouths.  They're not going to shove it
to the back of their mouth.


Things that slip down are things like beads or small toys, or buttons or eyes off of
Teddy bears, coins, things that are slippery that are going to, you know, slide
on--when on a tongue that's covered with saliva or something that they're going to
leave in their mouths and suck on and then trip and have it slide down.  But children
don't suck on paper towels.



		Oehring also testified that B.G.'s gag reflex would have prevented him from forcing
a large object down his own mouth:  "[H]e'll gag as soon as you hit the soft palate . . . it's pretty
early in the mouth.  And there's a reflex that goes all the way . . . into your airways in your lungs
there's a reflex. . . .  And so . . . there's no such thing as bypassing a reflex."

		Oehring further testified that in her opinion, an adult put the paper towels in B.G.'s
throat.  Oehring was allowed to explain, without objection from defense counsel, how this could
occur:

He would have had to have been held down.  If you've ever tried to keep almost a
two year old in one place, he'd have had to have been held down, I would imagine,
probably on the floor with some part of somebody's body holding him in that one
position.  Once that some--somebody's hand and a paper towel was in his mouth,
that would--and if it was pushing backwards against the floor, he would--it would
probably hold his head still enough.  But he would have been coughing and gagging
and bleeding and fighting and struggling up to the point where his brain didn't get
enough oxygen to where he became limp.



		Oehring also explained that a 21-month-old child swallowing five paper towels would
be the equivalent of an adult swallowing ten paper towels, and that it "would take a lot of force" to
push something that size down a child's airway, which Oehring testified was "at best the size of a
quarter at the point where those paper towels were pulled out."  Such force, Oehring explained,
would cause the tissue inside the airway to stretch, tear, and bleed. 	

		Finally, Oehring testified that a 21-month-old child would not have the strength or
the dexterity to "wad" the paper towels together to the point where they would be capable of being
put down his mouth, much less the amount of saliva necessary to wet the paper towels so that they
could fit inside his mouth.  Oehring speculated that the wad must have been soaked "in water or
something" before being placed in B.G.'s mouth.     

		Because of the nature of B.G.'s injuries, the police department had initiated a criminal
investigation of the incident.  The department assigned detectives Keith Walker, Eric De Los Santos,
and Mark Gilchrest to the case.  Detective Walker arrived at the scene shortly after EMS had
transported B.G. to the hospital.  Walker testified that he searched Jimenez's apartment.  Inside, he
discovered a roll of paper towels located on a sofa in the living room.  One of the sheets was
separated from the roll.  In the bathroom, Walker observed a red spot on the faucet handle that
appeared to be dried blood and also what appeared to be a blood smear on the edge of the bathtub. 
Officers seized the paper towels and faucet handle from the apartment and took samples of the
substance found on the bathtub.  Testing confirmed that the substance on the faucet and the bathtub
was blood consistent with B.G.'s DNA profile.  			

		The police transported Jimenez to department headquarters where Detective De Los
Santos interviewed her. (4)  The interview, conducted in Spanish, was videotaped and transcribed into
both Spanish and English.  The jury watched the videotape while reading copies of the transcript. (5) 
De Los Santos also testified concerning the interview. 

		During the interview, Jimenez told De Los Santos that B.G. and her one-year-old
daughter were both suffering from a cold that day, and that at one point she had used a paper towel
to blow B.G.'s nose, left a roll of paper towels on the sofa, and then went to the kitchen to cook. 
Jimenez then noticed that B.G. and her daughter were playing with the paper towels.  She told B.G.
to stop.  However, B.G. continued playing with the paper towels, tearing sheets from the roll and
throwing them.  Jimenez then saw B.G. go the bedroom, leaving the roll of paper towels behind on
the sofa.  Later, Jimenez told B.G. to "come over here where I can see you" because she did not want
him to enter the bathroom and put his hands into the toilet bowl.  Jimenez then saw B.G. coming
toward her, "walking very slowly" with his hand on his throat.  She saw that he was very red, asked
him what was wrong, and when he did not answer her, became concerned that he was choking on
something.  Jimenez approached B.G., took him to the bathroom because he looked like he was
trying to throw up, squeezed his cheeks together and put her fingers in his mouth to try to look
inside, and hit him on the back to try to dislodge what was in his throat.  When these measures
proved unsuccessful, she carried B.G. over to her neighbor's apartment.  Jimenez told De Los Santos
that only one minute elapsed between the time that she saw B.G. choking and the time that she took
him over to her neighbor's apartment.  

		Later in the interview, as De Los Santos further questioned Jimenez about the
incident, Jimenez began crying and stated, "I love [B.G.] a lot, as if he were my boy.  Out of
carelessness, was what happened to him [sic]."  Jimenez denied putting the paper towels in B.G.'s
mouth.  However, under repeated questioning from De Los Santos, Jimenez claimed not to
remember if she did or not:


[Jimenez]:		I only remember that I opened his mouth.  But due to
nervousness from . . . not knowing what to do, I don't know
if I pushed the paper . . . I don't remember, from the nerves,
you see?


[De Los Santos]:	Uh-huh.


[Jimenez]:		I don't remember well.


[De Los Santos]:	Is it possible?


[Jimenez]:		Maybe, I don't know.


[De Los Santos]:	But you have told me that--


[Jimenez]:		Yes, look, I opened his mouth.


[De Los Santos]:	Uh-huh.


[Jimenez]:		But at that moment, I opened his mouth and I don't
remember. . . .   


		During the interview, De Los Santos noticed injuries on Jimenez's right hand.  These
injuries, which appeared to be scrapes and abrasions on her thumb and forefinger, were later
photographed.   De Los Santos asked Jimenez about the injuries, and Jimenez again responded that
she did not remember what happened:


[Jimenez]:		I'm telling you, maybe I put my hand inside the little boy--
I don't remember.


[De Los Santos]:	But I'm asking you, how does it look [to] you?


[Jimenez]:		To me?  As if the little boy had bit me.


. . . .


[Jimenez]:		Uh-huh.  And I don't remember if . . . if at that moment when
I did this, after I did this . . . from there on I don't remember
if . . . if I . . . put the hand in his mouth.  I can't remember.


. . . .


[De Los Santos]:	[T]ry to remember. . . .


[Jimenez]:		Possibly when . . . I saw that he was choking.  When he was
going to ask me for help. . . .


. . . .


[De Los Santos]:	But did he bite you?


[Jimenez]:		It can be seen that he bit me. 


		Throughout the interview, Jimenez was concerned about her daughter, who had been
taken into protective custody by CPS.  At one point during the interview, Jimenez was allowed to
call Vera to ask about her daughter.  During the phone call, Jimenez stated the following:


They're saying it was me.  That they want to say it was me.  They're saying that . .&nbsp;.
they're trying to say it was me.  Oh!  I don't know anymore.  I mean, how is it
possible that the little boy put so much paper in his mouth?



		Later in the interview, Jimenez asked De Los Santos if she could speak with him "as
a friend."  De Los Santos agreed and accompanied her outside.  Unbeknownst to Jimenez, De Los
Santos was carrying a digital audio recorder in his pocket, and he recorded their conversation.  The
recording and a transcript of the recording were admitted into evidence.  During the conversation,
Jimenez asked De Los Santos, "If I were to tell you that I did it, what would happen?"  De Los
Santos answered that he would present that information to the attorneys, and that there was a
possibility that she would go to prison.  Jimenez then asked about how long she could go to prison,
and De Los Santos told her that he did not know.  De Los Santos then asked Jimenez more questions
about the incident, but she did not want to talk about it until she first saw her daughter.  

		Once they returned to the interview room, De Los Santos made arrangements with
CPS to allow Jimenez to visit with her daughter at the station, hoping that this would encourage
Jimenez to explain what happened.  However, even after she saw her daughter, Jimenez refused to
answer De Los Santos's questions.  He finally asked her, "But I want to know why.  Please.  Just tell
me here, why did it happen?"  Jimenez responded, "I can't."  De Los Santos then ended the interview
and agreed to drive Jimenez to her home.  De Los Santos testified that Jimenez said nothing of
significance in the car.  In the meantime, Detective Gilchrest was obtaining a warrant for Jimenez's
arrest.  Several hours after she returned home, Jimenez was arrested and charged with
injury&nbsp;to&nbsp;a&nbsp;child.

		Jimenez was later also charged with felony murder when B.G. died from his injuries
approximately three months after the incident.  Dr. Elizabeth Peacock, Deputy Medical Examiner
for Travis County, testified that the cause of death was damage to the brain due to lack of oxygen. 
Although she did not perform the actual autopsy, Dr. Peacock reviewed the autopsy report and
concurred with the actual examiner's finding that the death was a homicide. (6)  She testified that the
finding was not a close call.  Peacock was asked to explain why a 21-month-old child would not be
able to place a large object into his airway.  Peacock testified that "the physics of it are impossible": 


The mouth of a 21-month-old can hold a lot of food.  However, right at the back of
the mouth, it narrows abruptly to a rather small opening.  And by small, I am talking
less than an inch in diameter.  The only things that can really get down there and
obstruct, in my opinion, and in the . . . forensic texts are something that's round or
small to that degree.



However, Peacock testified that it would be possible for an adult to force a large object down a
child's throat.  Following Peacock's testimony, the State rested its case. 

		Several witnesses testified for the defense, including Paula Salinas, the neighbor who
had called 911.  Salinas testified that on the day of the incident, she was in her living room when she
heard "this horrible scream."  Salinas ran outside and saw Jimenez standing outside Vera's apartment
yelling and crying.  Salinas had her cell phone with her, and Vera asked her to call 911.  While
Salinas was calling 911, she heard Jimenez asking B.G., "Mi hijo, what's wrong?  What's wrong? 
What's wrong?"

		Faye Halliburton testified that she had read about the case in the newspaper and had
contacted the defense to inform them that her daughter had choked on Kleenex tissue paper when
she was almost two years old.  On cross-examination, Halliburton testified that when she was able
to pull the Kleenex out of her daughter's mouth, it did not have blood on it.

		Jimenez's husband, Fidel Juarez, testified that his wife treated their children "[w]ith
a lot of love and care."  Juarez also testified that when he came home for lunch during the day, he 
would often observe B.G. playing with paper towels and that B.G. liked to put paper towels in his
mouth.  On cross-examination, Juarez denied the State's accusation that he was fabricating his
testimony in order to help his wife.

		The jury also heard testimony from Wilson Young, a DNA/serology analyst with the
Department of Public Safety, who had analyzed the objects that were seized from Jimenez's
apartment and the paper towels that were extracted from B.G.'s throat.  Young testified that
Jimenez's DNA was not found on the paper towels.  However, on cross-examination Young
explained that this did not necessarily mean that Jimenez did not touch the paper towels.  Young
explained that "[t]o just touch an item for a short period of time would not release sufficient cells
from the hands or from the body . . . to test them for that [DNA analysis]."  Additionally, according
to Young, because the paper towels had been collected from the mouth of another person, "that
would then create a situation such that the cells from within that person's mouth would be the
predominant cell structure, cell type that would be on that item."

		Jimenez's medical expert was Dr. Ira Kanfer, a forensic pathologist and medical
examiner.  Dr. Kanfer testified that if five paper towels had been forced down a child's throat, there
should have been some evidence of trauma "around the cheeks, the lips, the teeth, [or] a cut gum"
because


[t]he child's going to fight like hell.  There's going to be bruises.  There's going to
be tears.  There's going to be contusions.  As well as this five rolls of paper towels,
there's got--the kid has teeth, by the way, at--at two years old.  I mean it's going to
be ripped to shreds as well as all this associated trauma.



Kanfer explained that the absence of such evidence in this case should have been "crucial"
information in the police investigation.

		Kanfer opined that the blood on the paper towels was consistent with pulmonary
edema, a reaction that occurs when a person is choking, cardiac arrest occurs, and the air sacs in the
lungs begin filling up with water and blood.  Kanfer read to the jury the results of a chest x-ray taken
of B.G. several days after the incident.  The results of the x-ray stated that pulmonary edema was a
possibility.  However, Dr. Oehring, B.G.'s treating physician in intensive care, had previously
testified that B.G. did not suffer from pulmonary edema.  Dr. Boulet, B.G.'s treating physician in the
emergency room, also testified that he did not believe that the blood on the paper towels was
consistent with pulmonary edema.   This disputed testimony is significant because one of the State's
theories was that the blood on the paper towels resulted from the towels being forced down B.G.'s
throat, while Jimenez contended that the bleeding resulted from pulmonary edema that would have
occurred regardless of how the paper towels came to be lodged down B.G.'s throat. 

		Kanfer also disputed the characterization of the wad of paper towels as a "blood-soaked object," explaining that some of the staining may have been "gastric content" from the
esophagus and that saliva and mucus also helped saturate the paper towels.  Kanfer added that some
of the injuries on Jimenez's hand, photographed while she was at the police station, appeared to be
old scars.  However, Kanfer conceded that the injury on Jimenez's thumb appeared to be recent.

  		Kanfer further disagreed with the State's theory that B.G. was not breathing by the
time of the 911 call.  Kanfer testified that the child was probably experiencing "agonal" breathing
at the time, which occurs when a person is suffering from severe oxygen deprivation.  According to
Kanfer, while agonal breathing is not "regular" breathing, it is nonetheless a type of breathing. 
Kanfer also testified that when a person's airway is completely occluded, the heart could not
continue beating for longer than four or five minutes and that "all purposeful movement" in the
person would stop either immediately or within a minute or two.  Thus, according to Kanfer, if the
choking had happened much earlier than Jimenez claimed that it did (as the State maintained), the
child would not have been able to bite down on Vera's or Officer Torres's fingers when they tried
to look inside B.G.'s mouth.  The fact that B.G. was still able to bite, in Kanfer's view, was
consistent with Jimenez's claim that she had immediately rushed B.G. to her neighbor's apartment. 
       		Kanfer also suggested that the various attempts to resuscitate B.G. and force air into
his lungs may have driven the wad farther into the esophagus and further obstructed the child's
airway.  He added that efforts to remove the obstruction from B.G.s' throat may have changed the
size of the obstruction, making it appear larger than it was when it had originally gone
down&nbsp;B.G.'s&nbsp;throat.

		Kanfer agreed with everything in the autopsy report except for the finding that the
death was a homicide.  Kanfer explained that he had performed an experiment in which he wadded
up five paper towels, soaked them in water, and, using his hands, was able to condense the paper
towels to the point where a child could have put the paper towels in his mouth and choked on them. 
Kanfer testified that he could not say that B.G.'s death was a homicide within a reasonable degree
of medical certainty because of the lack of evidence of injuries to the child's mouth and the fact that
the paper towels were largely intact as opposed to being "shredded by the [child's] teeth."

		The defense also called Dr. Randall Alexander, a board-certified pediatrician, as a
"hostile witness."  Dr. Alexander testified that if a child's airway is completely occluded, the child's
heart would not continue to beat for an hour.  Alexander also testified that pulmonary edema might
or might not occur when a person's airway is blocked, and that the existence of pulmonary edema
depends on more factors "than just an object being there." On cross-examination, Alexander's
testimony was largely consistent with the testimony of the State's medical experts, and he agreed
with most of the testimony that they provided, although he did not believe that a heart could continue
beating without oxygen for as long as Dr. Oehring testified that it could.  Alexander thought that
after 45 minutes to an hour, there could be an occasional "blip" on an EKG monitor but not a
meaningful heartbeat.  Alexander also testified that the wad of paper towels had not been "soaked"
in blood but was "spotted" with blood.  Alexander agreed with the State's medical experts that it
would be impossible for a child of B.G.'s age to force five paper towels down his throat or to wad
them up tightly enough so that they could fit into his mouth.  Alexander also testified that in order
to force the wad down a child's throat, someone would have to first "immobilize" the child. 		Alexander disagreed with Dr. Kanfer's opinions.  Specifically, he disagreed with
Kanfer's opinion that it would have been possible for B.G. to accidentally swallow such a large
object.  Alexander also disagreed with Kanfer's opinion that there should have been visible injuries
to B.G. if paper towels had been forced down his mouth.  Alexander testified that it was possible for
there to be no external or internal injuries, although it was less likely that there would be no internal
injuries. Alexander also testified that the blood on the paper towels was consistent with some sort
of internal injury.  

		Alexander further disagreed with Kanfer's opinion that pulmonary edema was the
source of the blood on the paper towels.  Alexander explained that pulmonary edema is not
immediate but "usually takes a while to develop."  In fact, Alexander was not surprised that B.G.'s
chest x-ray, taken three or four days after the incident, showed a possibility of pulmonary edema
because "that's the time course you'd expect." 

		Alexander further explained that child abuse was his primary "area of interest" in his
pediatric practice and that he has performed and reviewed studies on people who are likely to
commit child abuse.  He testified regarding the results of these studies:


We know that males commit about 60 percent of physical abuse; females commit
about 40 percent.  Parents are--commit more of it than anyone else.  The next two
highest groups would be mom's boyfriend, and a babysitter.


		When asked about a situation where a person has no reported history of child abuse,
and whether such a person could commit a fatal act of child abuse, Alexander testified:  


We know that in our U.S. Advisory Board Report that we did on child fatalities,
when we talked about child abuse, we reviewed studies on that and issued our 1995
report.  We knew that 60 percent of the time there was no previous police history, no
Child Protective Services history. . . .  Now, 40 percent of the time they did.  So, it
can really go either way.


		Alexander was also allowed to testify, without objection from defense counsel, about
"the psychology behind attacking a victim's mouth":


Well, it's basically the mouth that offends you.  So you go for the thing that makes
you mad.  If someone's hand offends you, you don't go to their foot.  You . . . tend
to go for the part in child abuse that . . . bothers you.  Or it's a more generalized
response to a child.  So maybe a child's crying in cases where they stuff--put in their
mouth that was crying [sic].


. . .  I suppose an older child could sass back at you, and you're going to shut them
up--as opposed to just crying response [sic].  Could be a response to being bitten. 
It could be a response to vomiting.  I'm going to put a cork in it to stop you.  Unique
things along those kinds of lines.



		Alexander further testified concerning the significance of a caregiver providing "more
than one history" of how a child's injury occurred:


[Alexander]:	It's concerning for abuse.  It's, again, not absolute proof of
anything.&nbsp;.&nbsp;.&nbsp;.  But in accidental situations we tend not to get different
histories. . . .


[State]:	Okay.  And in a situation where a caregiver gives one history that she
found the child lying on the floor unconscious and another history
that she found the child walking toward her clutching his throat, are
those two different histories different enough that that would concern
you?


[Alexander]:	Yeah, given that kind of history, that would make me start worrying,
thinking I might have to report this to the authorities to--to see if
there's a child abuse situation here.



		On redirect, Jimenez asked Alexander if Jimenez's explanations of the incident were
"internally consistent in terms of chronology, the way things unfolded."  Alexander testified that
Jimenez's explanations "seemed internally consistent" even though there were "several histories." 
When asked to clarify what he meant, Alexander explained, "The one of him walking to her, the one
of her going and seeking him and finding him on the floor.  Those are different."  

		After Alexander, Jimenez recalled Dr. Kanfer.  We have already summarized his
testimony. (7)  Jimenez also called several witnesses who testified to Jimenez's peaceful nature,
including Jimenez's mother, who testified that her daughter is a peaceful person who is not quick
to anger.  Several of Jimenez's friends and a child whom Jimenez had cared for also testified that
Jimenez was peaceful and a good caregiver.  Jimenez then rested her case. 

		In their closing arguments, the State and Jimenez summarized their respective
theories of the case.  Jimenez's theory was that the entire incident was an accident.  B.G. liked to
play with paper towels and put things in his mouth.  On the day in question, he put the paper towels
in his mouth and accidentally swallowed them.  Jimenez discovered B.G. choking, tried to help him
in the bathroom (thus explaining the blood found there), and when she was unable to do so,
immediately carried him to her neighbor's apartment.  Jimenez found support in the fact that
witnesses who had tried to look inside B.G.'s mouth had been unable to do so because B.G. kept
biting their fingers.  That would have been impossible, according to Jimenez, if B.G.'s airway had
been occluded for a long period of time.  The defense also portrayed Jimenez as a young pregnant
woman who would not have been physically able to commit the crime of which she was accused. 
Additionally, the defense claimed that Jimenez's various explanations of the incident were largely
consistent, and that any minor inconsistencies were the result of the trauma that she had just
experienced and the fact that she did not have a proper understanding of the English language.  Her
possibly incriminating statements to Officer De Los Santos were also attributed to trauma and
De&nbsp;Los Santos's aggressive questioning.  Jimenez also argued that the State's medical experts were
biased in the State's favor because of the emotional nature of the case.  Finally, Jimenez argued that
her expert, Dr. Kanfer, provided testimony that the blood on the paper towels was primarily the result
of pulmonary edema and that if the paper towels had been forced down B.G.'s throat, there should
have been evidence of injury to the child's face or mouth and evidence that the paper towels had
been shredded by the child's teeth.                        

		The State's theory was that Jimenez had forced the wad of paper towels down B.G.'s
throat.  The blood found on the paper towels and in Jimenez's bathroom, in the State's view, was
evidence of force, not an accidental choking.  The State's medical experts had testified that it was
physically impossible for a 21-month-old child to place five paper towels down his throat, and that
the child's gag reflex would prevent the child from accidentally swallowing such a large object. 
Furthermore, the State argued that Jimenez provided inconsistent explanations of how she found the
child and that her statements to Officer De Los Santos were incriminating.  Additionally, the State
referred to photographic evidence of what appeared to be bite marks on Jimenez's hand and
Jimenez's admission to Officer De Los Santos that B.G. bit her.  Based on this evidence, the State
argued, "Folks, we don't need a forensic odontologist to tell you what this is on her hand." (8)

		The jury convicted Jimenez of felony murder and injury to a child.  Jimenez timely
filed a motion for new trial.  After this motion was filed, interim appellate counsel was appointed
to represent Jimenez.  Interim counsel filed an untimely amended motion for new trial, abandoning
the issues raised in the original motion.  Following a hearing, the district court denied the amended
motion.  This appeal followed.

	                

DISCUSSION

Evidentiary sufficiency

		In her first and second points, Jimenez challenges the legal and factual sufficiency
of the evidence.

		When there is a challenge to the legal sufficiency of the evidence to sustain a criminal
conviction, we consider whether a rational jury could have found the essential elements of the
offense beyond a reasonable doubt.  Vodochodsky v. State, 158 S.W.3d 502, 509 (Tex. Crim. App.
2005).  We review all the evidence in the light most favorable to the verdict and assume that the jury
resolved conflicts in the testimony, weighed the evidence, and drew reasonable inferences in a
manner that supports the verdict.  See Griffin v. State, 614 S.W.2d 155, 159 (Tex. Crim. App. 1981).
It is not necessary that every fact point directly and independently to the defendant's guilt; it is
enough if the conclusion is warranted by the combined and cumulative force of all the incriminating
circumstances.  Johnson v. State, 871 S.W.2d 183, 186 (Tex. Crim. App. 1993).  We consider even
erroneously admitted evidence.  Id.

		In a factual sufficiency review, we view the evidence in a neutral light and ask
whether a jury was rationally justified in finding guilt beyond a reasonable doubt.  See Watson
v.&nbsp;State, 204 S.W.3d 404, 414 (Tex. Crim. App. 2006).  We then determine whether the evidence
supporting the verdict is so weak that the verdict is clearly wrong and manifestly unjust or whether
the verdict is against the great weight and preponderance of the conflicting evidence.  Id. at 415.  We
will not reverse a case on a factual sufficiency challenge unless we can say, with some objective
basis in the record, that the great weight and preponderance of the evidence contradicts the jury's
verdict.  Id. at 417.

		Under both the legal and factual sufficiency standards of review, the jury is the
exclusive judge of the facts, the credibility of the witnesses, and the weight to be given to the
witnesses' testimony.  Williams v. State, No. 03-06-00039-CR, 2007 Tex. App. LEXIS 5960, at *7
(Tex. App.--Austin July 27, 2007, no pet. h.) (op., designated for publication);  Jaggers v. State,
125&nbsp;S.W.3d 661, 670 (Tex. App.--Houston [1st Dist.] 2003, pet. ref'd) (citing Penagraph v. State,
623 S.W.2d 341, 343 (Tex. Crim. App. 1981)).  Under both legal and factual sufficiency reviews,
an appellate court must be appropriately deferential to the fact-finder's role at trial.  Williams, 2007
Tex. App. LEXIS 5960, at *8; Harvey v. State, 135 S.W.3d 712, 717 (Tex. App.--Dallas 2003,
no&nbsp;pet.) (citing Jones v. State, 944 S.W.2d 642, 647-48 (Tex. Crim. App. 1996)).  The jury may
believe all, some, or none of any witness's testimony.  Sharp v. State, 707 S.W.2d 611, 614 (Tex.
Crim. App. 1986); Williams, 2007 Tex. App. LEXIS 5960, at *8. This standard of review applies to
both direct and circumstantial evidence cases.  King v. State, 29 S.W.3d 556, 565 (Tex. Crim. App.
2000); Williams, 2007 Tex. App. LEXIS 5960, at *8.

		A person commits the offense of felony murder if he or she commits or attempts to
commit a felony and, in the course of and in furtherance of the commission or attempt, commits or
attempts to commit an act clearly dangerous to human life that causes the death of an individual. 
Tex. Penal Code Ann. § 19.02(b)(3).  A person commits the offense of injury to a child if she
intentionally, knowingly, recklessly, or with criminal negligence causes serious bodily injury to a
child.  Id. § 22.04(a)(1).  Jimenez does not dispute that placing paper towels down a child's throat
is an act clearly dangerous to human life or that such an act could cause serious bodily injury to a
child.  She only disputes that she committed this act.

		In this case, the jury was confronted with evidence that supported two possible
theories about B.G.'s death.  The State's theory was that Jimenez forced the paper towels down
B.G.'s throat.  Jimenez's theory was that B.G. accidentally swallowed the paper towels.  The
following evidence supports the State's theory:



  Dr. Boulet, Dr. Oehring, Dr. Peacock, and Dr. Alexander each testified that it was not possible
for a 21-month-old child to accidentally swallow a wad of five paper towels.  According to their
testimony, the object was too large and would not be able to bypass the child's gag reflex.  They
also testified that a 21-month-old child did not have the strength or the dexterity to pack the
paper towels together into a mass sufficiently tight and small to go down his own throat. 
However, they opined that an adult could possibly "wad" the towels together and force them
down the child's throat. It is undisputed that Jimenez was the only adult in the apartment when
B.G. began choking.

  The wad of paper towels had blood on it.  The State's medical experts testified that the presence
of blood on the paper towels--whether "soaked" with blood or merely "spotted" with
blood--was consistent with the State's theory that the wad was forced down B.G.'s throat.

  Jimenez made statements to Detective De Los Santos that when viewed in the light most
favorable to the verdict, could reasonably have implied guilt.  Jimenez stated repeatedly that she
could not remember what happened and whether she put the paper towels in B.G.'s mouth. 
Jimenez also asked De Los Santos, "If I were to tell you that I did it, what would happen?"

  Dr. Peacock testified that she would expect a child to bite a person's fingers if that person was
forcing paper towels down the child's throat.  Jimenez admitted that B.G. bit her.  Also,
photographs of injuries to Jimenez's hand were admitted into evidence; a rational jury could
infer that at least one of these injuries was a bite mark.  Jimenez's own medical expert testified
that one of the injuries to her hand appeared to be a fresh wound.




  Jimenez provided inconsistent explanations of how she found B.G. According to Vera's
testimony, Jimenez told her that she saw B.G. walking toward her appearing to be choking, then
fell to the ground.  By contrast, according to Officer Torres's testimony, Jimenez told him that
she had called out to B.G. and, when he did not answer her, went looking for him and found him
already lying on the ground and not breathing.  Dr. Alexander testified that inconsistent
explanations of a child's injuries by a caregiver is a warning sign of abuse.       

  The medical examiner ruled B.G.'s death a homicide.  Dr. Peacock concurred with this finding
and further testified that the finding of homicide "was not a close call."

  Blood consistent with B.G.'s DNA was found in Jimenez's bathroom. 

  Multiple witnesses observed blood on B.G.'s mouth while he was choking.  According to the
State's experts, the presence of blood on B.G.'s mouth was consistent with an injury from the
paper towels being forced down his throat.




		 The following evidence supports Jimenez's theory of the case:



  Although there was blood on B.G.'s mouth, there was no other evidence of injuries to B.G.'s
mouth.  According to Dr. Kanfer, if Jimenez had forced paper towels down B.G.'s throat, the
child would have struggled and there would have been evidence of tears, bruises, and contusions
inside B.G.'s mouth.  There was no such evidence.

  The wad of paper towels was largely intact when it was recovered from B.G.'s throat. 
Dr.&nbsp;Kanfer testified that if it had been forced down B.G.'s throat, it should have been "ripped to
shreds."

  Jimenez's DNA was not found on the paper towels recovered from B.G.'s throat.

  A witness testified that her daughter had once choked on Kleenex when her daughter was two-years-old, which contradicted Dr. Oehring's testimony that children of B.G.'s age do not put
paper in their mouths.

  B.G.'s mother testified that B.G. liked to play with objects in the kitchen, take the objects out
of the kitchen, and drop them in the toilet.  She also testified that B.G. liked to play with paper
and once dropped an entire roll of toilet paper in the toilet.  A rational jury could infer from this
testimony that B.G. may have done the same thing with the paper towels and then, once they
were wet, took them out of the toilet and placed them in his mouth.  Jimenez's husband testified
that he often observed B.G. playing with paper towels and that B.G. liked to put them in his
mouth.

  Dr. Kanfer testified that the blood on the paper towels was consistent with pulmonary edema
rather than the paper towels being forced down B.G.'s throat.  The results of B.G.'s chest x-ray
indicated that pulmonary edema was a possibility. 

  Jimenez had no history of committing child abuse, and several witnesses testified that Jimenez
was a peaceful person not quick to anger and a good mother who loved and took good care of
children.

  When B.G. was being treated at Vera's apartment, several witnesses testified that Jimenez
appeared genuinely concerned for the child's well-being.  Also, during her interview with De Los
Santos, Jimenez expressed love for the child, as if he were her own child.


    


		Viewing the above evidence in the light most favorable to the verdict, we find that
a rational jury could have found that Jimenez forced the wad of paper towels down B.G.'s throat. 
Several experts, including the pediatric emergency room doctor, the pediatric ICU doctor, a medical
examiner, and a board-certified pediatrician testified that it would simply not be possible for a 21-month-old child to accidentally swallow five paper towels.  According to these experts, the towels
would have to be forced down the child's throat by an adult, and it is undisputed that Jimenez was
the only adult who was with B.G. at the time that he started choking.  The jury could have rationally
chosen to credit this evidence and inferred that Jimenez was the adult responsible for this act. 
Furthermore, the jury could have reasonably interpreted as incriminating Jimenez's inconsistent
statements about how she discovered the child.  Also, the jury heard evidence that B.G.'s blood was
found in Jimenez's bathroom, which the jury could have reasonably concluded was the result of a
struggle.  Additionally, the jury heard evidence that B.G. bit Jimenez, including Jimenez's own
admission of this fact to Detective De Los Santos.   According to the testimony of Dr. Peacock, B.G.
biting Jimenez was consistent with the State's theory that Jimenez forced the paper towels down the
child's throat.  The jury could have reasonably inferred from this evidence that B.G. bit Jimenez
while she was forcing paper towels down his throat.    

		On the other hand, the jury could have rationally considered and weighed Jimenez's
evidence against the State's evidence and reasonably decided to discredit Jimenez's evidence.   None
of the State's experts agreed with Dr. Kanfer's opinion that the blood on the paper towels was a
result of pulmonary edema.  Additionally, although Dr. Kanfer testified that there should have been
evidence of injuries to the child's mouth if the paper towels had been forced down B.G.'s throat,
Dr.&nbsp;Alexander disagreed, testifying that it was possible for there to be no evidence of injuries to the
child's mouth.  Dr. Alexander also testified that the blood on B.G.'s mouth was consistent with an
injury to the mouth.  Dr. Alexander disagreed with almost all of Dr. Kanfer's opinions and explained
in detail the medical bases for his disagreements.  The jury could have reasonably resolved the
conflict between Dr. Kanfer's testimony and Dr. Alexander's testimony in favor of Dr. Alexander. 
The jury also could have reasonably believed Dr. Alexander's testimony that in 60 percent of child
abuse cases, the perpetrator has no history of committing child abuse and that babysitters are one of
the "highest groups" responsible for abuse, after parents and "mom's boyfriend."  Based on this
testimony, the jury could have rationally chosen to discredit the character evidence that Jimenez
provided in her defense.  Dr. Alexander also testified about "the psychology behind attacking a
victim's mouth," and that "inconsistent histories" of an event are warning signs of abuse.  The jury
could have reasonably inferred from this testimony that Jimenez, in a moment of anger, forced the
wad of paper towels down B.G.'s throat and then attempted to cover up what she did. 

		Viewing the above evidence in the light most favorable to the verdict, we conclude
that a rational jury could find beyond a reasonable doubt that Jimenez forced the paper towels down
B.G.'s throat.  Thus, there is legally sufficient evidence to support Jimenez's conviction. 

      		We reach the same conclusion considering the above evidence in a neutral light.  In
a factual sufficiency review, "an appellate court must first be able to say, with some objective basis
in the record, that the great weight and preponderance of the (albeit legally sufficient) evidence
contradicts the jury's verdict before it is justified in exercising its appellate fact jurisdiction to order
a new trial."  Watson, 204 S.W.3d at 417.   We recognize that this was a highly contested case with
conflicting evidence.  Nonetheless, reconciliation of any conflicts in the evidence is within the
exclusive province of the jury.  Jones v. State, 944 S.W.2d 642, 647 (Tex. Crim. App. 1996).  There
is no objective basis in the record for us to conclude that the jury's resolution of the above conflicts
in the evidence in favor of the State was "clearly wrong," "manifestly unjust," or "against the great
weight and preponderance of the evidence."  See Castillo v. State, 221 S.W.3d 689, 693 (Tex. Crim.
App. 2007) (citing Watson, 204 S.W.3d at 414-15, 417).  

		We overrule Jimenez's first and second points.            


Prosecutorial misconduct

		In her third point, Jimenez argues that she was denied due process and a fair trial
because of prosecutorial misconduct throughout the proceedings.  Jimenez cites 36 allegedly "snide
and unprofessional" comments made by the State during the course of the trial.  To preserve error
in cases involving prosecutorial misconduct, the defendant must (1) make a timely and specific
objection; (2) request an instruction that the jury disregard the matter improperly placed before the
jury; and (3) move for a mistrial.  Cook v. State, 858 S.W.2d 467, 473 (Tex. Crim. App. 1993).  Error
preservation is not required only when the misconduct "so infected the trial with unfairness as to
make the resulting conviction a denial of due process."  Darden v. Wainwright, 477 U.S. 168, 181
(1986).  "It is not enough that the prosecutors' remarks were undesirable or even universally
condemned."  Id.  The misconduct must deny the defendant a fair trial.  Id.  In other words,
prosecutorial misconduct does "not assume constitutional dimension unless the evidence is 'so
insubstantial that (in probability) but for the remarks no conviction would have occurred.'"   Guidroz
v. Lynaugh, 852 F.2d 832, 838 (5th Cir. 1988) (quoting Edwards v. Scroggy, 849 F.2d 204, 211
(5th&nbsp;Cir. 1988)).     

		Jimenez concedes that she made a contemporaneous objection to only one of the 36
allegedly improper comments.  We will address this comment first.  At some point during a break
in Dr. Kanfer's testimony and outside the presence of the jury, Dr. Kanfer apparently made a rather
contemptuous comment about the prosecutors, which included the use of a profane verb.  The State
decided to bring this comment to the jury's attention during Kanfer's cross-examination.  The State
did so on three occasions.  The first reference was during the following exchange: 


Q: 	And you're just here as a completely unbiased expert to educate the jury.


A: 	Exactly. 


Q: 	Is that why on the break you made the statement that they, referring to Mr.
Cobb and myself, could go [expletive] ourselves?


A: 	Right.  That's an exactly correct quote.



Defense counsel did not object at this point.

		The State's second reference to the comment occurred during this exchange:


Q: 	Do you remember that you made the statement that Mr. Cobb and I could
[expletive] ourselves before I ever asked you about money?  Do you
remember that?


A: 	I don't know when I made the statement that--that you could both [expletive]
yourselves, but I definitely made the statement.


Q: 	Okay.  Yeah, you definitely did.


A: 	Yeah.


Q: 	Is that something that you routinely do when you go out of state to testify as
an expert witness?

	


At this point defense counsel objected to the State "getting into the personal thing any more."  The
State responded that the question was relevant to the issue of Dr. Kanfer's bias.  The district court
overruled the objection.

		The State referenced the comment a third time at the end of its cross-examination of
Dr. Kanfer, as the State was inquiring regarding Kanfer's disagreement with Dr.
Alexander's&nbsp;opinions:


Q: 	But you're not angry at Dr. Alexander.


A: 	No, he's a nice guy.


Q: 	Okay.  Well, then you don't want to tell him to go [expletive] himself.


A: 	No.



Defense counsel did not object.

		Jimenez objected to the State's references to Kanfer's remarks only once.  The State
responded that it was attempting to show Dr. Kanfer's bias against the prosecutors, and the district
court overruled the objection.  We hold that it did not abuse its discretion in doing so.  "The State
is clearly entitled to show any bias a defense witness might have against the State or the prosecutor." 
London v. State, 739 S.W.2d 842, 846 (Tex. Crim. App. 1987).  The trial court has considerable
discretion in determining how and when bias may be proved and what collateral evidence is material
for that purpose.  Martinez v. State, 212 S.W.3d 411, 425 (Tex. App.--Austin 2006, pet. ref'd). 
Dr.&nbsp;Kanfer's admitted use of profanity when referring to the prosecutors revealed potential animosity
toward the prosecutors.  Furthermore, because the State referenced the remark two additional times
both before and after the objected-to reference, any error would have been harmless.  See Howard
v. State, 153 S.W.3d 382, 385 (Tex. Crim. App. 2004).

		We now turn to the comments for which error was not preserved.  These comments
fall into four categories:  (1) an alleged racist remark; (2) alleged sidebar remarks;  (3) alleged
mistreatment of defense witnesses; and (4) allegedly improper jury arguments and
mischaracterization of evidence.  After addressing each of the categories, we will then discuss
Jimenez's argument that the alleged individual acts of prosecutorial misconduct, when viewed
collectively, denied her a fair trial.


	Alleged racist remark

		During its redirect examination of Detective De Los Santos, the State asked the
following question regarding Jimenez: "And despite being from Mexico, she's very intelligent. 
Wouldn't you agree?"  Jimenez characterizes this as a racist remark.  However, we must consider
this question in the context in which it was asked.  During his previous cross-examination of De Los
Santos, defense counsel had implied that because Jimenez was not from the United States, she did
not understand its legal system:


Q: 	I mean, this woman is not . . . from the United States, correct?

A: 	That's correct.

Q: 	She doesn't speak the language very well, correct?

A: 	Correct.

Q: 	She doesn't understand the system. . . .

A: 	Correct.

Q: 	She didn't know the laws. . . .

A: 	Yes, sir.


Following this exchange, it is apparent that the State's question was directed to refuting the defense's
suggestions that Jimenez, because of cultural or language differences, must not have understood the
American legal system and had been taken advantage of by De Los Santos.  In this context, the
State's question was not improper.  See United States v. Munoz, 150 F.3d 401, 414 (5th Cir. 1998)
("[N]o misconduct can arise from a question asked for a valid reason.").


	Alleged sidebar remarks

		Sidebar remarks are remarks of counsel that are neither questions to the witness nor
comments addressed to the court.  Brokenberry v. State, 853 S.W.2d 145, 152 (Tex. App.--Houston
[14th Dist.] 1993, pet. ref'd).  Having examined the record and the context in which each of the
alleged "sidebar" remarks was made, we have determined that while often snide or sarcastic, (9) all but
one of the remarks were ultimately objections addressed to the district court or questions addressed
to the witnesses:



  "Are we making speeches now, Judge, or is it time for closing arguments?"  



This statement responded to an alleged sidebar remark by defense counsel: "Just
wondering how [the paper towels] got in [the child's throat]."  The prosecutor then
clarified her objection:  "I guess I object to the sidebar in his speech."  The district
court sustained the State's objection.



  "I know Mr. Martinez is interested in this 'Good Morning America' film that he saw on TV and
all the neat things he's been able to Google search, but we're interested in legal evidence." 



This statement or argument was made incident to a relevance objection to a request
by defense counsel to show Dr. Boulet a video during cross-examination involving
a child swallowing a dinner fork.  Defense counsel moved on to another line of
questioning without receiving a ruling from the district court.  



  "Well, he could ask it ten more times and he could be ten times more sure."  



This statement occurred during an exchange concerning defense counsel's repeated
questioning of De Los Santos about a probable cause affidavit.  The prosecutor first
objected, "Your Honor, that's been asked and answered."  Defense counsel
responded, "I'm just making sure, Judge."  The prosecutor then made the above
argument in reply.  The district court commented, "We sort of let everyone do things
two times."  Defense counsel moved on to another line of questioning.   



  "Sergeant De Los Santos pretending with a paper towel is not helpful to this jury. .&nbsp;.&nbsp;.  It's just
not helpful.  It's not relevant.  He's just--it's just a show" 




  "Your Honor, I know that we're all very excited that the TV cameras are here, but this is not
appropriate. . . .  It's a joke."  



These statements were objections and argument in response to defense counsel
asking De Los Santos to wad up some paper towels and to "shove [the wad] in
[defense counsel's] mouth," pretending that defense counsel was "a kid."  The
district court overruled both objections and allowed the demonstration.       



  "Your Honor, I object to being argumentative and making speeches.  If he could just ask
questions and get answers."



This objection and argument was in response to defense counsel remarking to
Dr.&nbsp;Oehring during cross-examination, "Well, doctor, it's in the literature, and I'm
sure you've got a computer."  Following the prosecutor's objection, defense counsel
apologized and asked the witness a question.



  "I think Mr. Martinez is done, so you can answer the question."



This comment was addressed to Dr. Kanfer and immediately followed the district
court's overruling of a relevance objection by defense counsel to a preceding
question by the prosecutor.  The prosecutor followed up with the above request that
the witness answer the pending question.  


  "Your Honor . . . could we have this in question and answer and not lecture form, please?" 



This statement, in substance, was an objection responding to a lengthy answer by
Dr.&nbsp;Kanfer that takes up almost two pages of the record.    



  "Well, I object on doing a hypothetical that's based on something that is not in evidence.  It's not
helpful to the jury if he's just making stuff up."



This objection was in response to a proposed hypothetical by defense counsel. 
Defense counsel responded that the basis of the hypothetical was in evidence, and the
district court overruled the objection.  



  "Your Honor, I think he's said about ten times that he did not watch the video."



In substance, this was an objection responding to defense counsel's repeatedly asking
Dr. Alexander whether he had watched the videotape of De Los Santos interviewing
Jimenez.  Dr. Alexander had already responded that he had not.  Following the
objection, defense counsel moved on to another question.



  "Your Honor, I object to that.  That's not based on the evidence because the defendant had many
more injuries than one little nick on her thumb area." (10)



This objection and argument responded to defense counsel's comment to De Los
Santos following the demonstration involving De Los Santos attempting to stuff a
wad of paper towels down defense counsel's mouth:  "And so you're going to force
this in his mouth without creating any injury and come out of this with just one little
nick on your thumb area."  The district court did not rule on the objection, and
defense counsel rephrased the question.

    


		The only alleged sidebar remark that was neither an objection addressed to the district
court nor a question addressed to a witness was the following:  "I'm sure [Dr. Alexander]'s not as
hostile as Dr. Kanfer."  This remark was in response to defense counsel's statement that he was
questioning Dr. Alexander as a "hostile witness."  Even if it served no legitimate purpose, we do not
think that this unobjected-to remark--which merely observed what was already obvious to the jury
regarding Dr. Kanfer's regard for the prosecutor--interfered with Jimenez's right to a fair trial.  See
Darden, 477 U.S. at 181.          


	Alleged mistreatment of defense witnesses

		Jimenez also alleges that the State asked defense witnesses Paula Salinas, Joe
Martinez, and Dr. Kanfer inappropriate questions during cross-examination.  The only allegedly
improper question asked of Ms. Salinas was the following:  "Well, I'm trying to figure out when
your memory might be best.  It's clear to me it's not very good.  I'm not trying to pick on you, but
it's not very good here in court, is it?" 

		Joe Martinez was a defense investigator who had been instructed to locate
Dr.&nbsp;Paraungao, the medical examiner who performed the autopsy on B.G.  During cross-examination, the State asked Martinez questions about his presence in the courtroom during the
testimony of other witnesses in violation of the Rule: (11)


Q:	You know there is a specific court rule that's so specific that we refer to it as
the Rule.  You're aware of that, aren't you?


A:	Yes, sir.


Q:	And you are aware that what the Rule is is that if a witness is testifying, other
witnesses with knowledge about that matter are not allowed to be in the
courtroom to hear that witness's testimony.  You're aware of that, aren't you?


A:	Yes, sir.


Q:	And you violated that rule, didn't you?


A:	I don't think so.


Q:	You are here specifically to give testimony concerning what Dr. Parangao
discussed with you, correct?


A:	Yes.


Q:	And you were aware that Dr. Parangao was going to be a witness in this case?


A:	Yes.


Q:	And you were present when Dr. Parangao testified.


A:	Yes.


Q:	That's a violation of the Rule.  You're aware of that, correct?


A:	The statement that was taken was taken on the weekend before he testified.


Q:	Right, but you're aware of what the Rule is, aren't you?


A:	Yes, sir.


Q:	And the Rule has nothing to do with when a statement is taken.  You're
aware of that.

A:	Yes.

Q:	The Rule simply says that when a witness is testifying, other witnesses, such
as yourself, cannot remain in the courtroom to hear what that witness has to
say.  That's the Rule, isn't it?


A:	Yes, sir.


Q:	You violated the Rule, didn't you?


A:	Under that interpretation, yes.  



		The State asked Dr. Kanfer the following allegedly improper questions:

"You don't need a break to go to the bathroom, do you?" (Gratuitous reference to
witness previously needing to use the restroom).


"Do you need any more help from Mr. Martinez, or can you answer the questions?"



Because defense counsel did not object to any of these questions, they are grounds for reversal only
if they denied Jimenez a fair trial.  See Darden, 477 U.S. at 181.  We conclude that they did not. 

		Two other complaints regarding the State's treatment of Dr. Kanfer concern a
comment by the State that Kanfer "seemed a little wound up" and an accusation made by Dr. Kanfer
during his testimony that the State was treating him, in his words, like "a paid whore."  The State
never used such a term to refer to Dr. Kanfer.  The State did inquire about the compensation that
Dr.&nbsp;Kanfer was receiving for testifying, but such questions are common staples for cross-examination
of paid experts in jury trials.  See Sparks v. State, 943 S.W.2d 513, 515 (Tex. App.--Fort Worth
1997, pet. ref'd) (holding that witness may be asked questions regarding payment received for
testifying).  Similarly, questions concerning a witness's demeanor--another key factor bearing on
a jury's perception of credibility--are not improper. 


	Improper jury argument and alleged mischaracterization of evidence

		Finally, Jimenez alleges that the State made several improper arguments to the jury
during closing, including arguments that mischaracterized the evidence.  A proper jury argument
must fall within one of four general areas:  (1) summation of the evidence, (2) reasonable deductions
from the evidence, (3) answer to the argument of opposing counsel, or (4) a plea for law
enforcement.  Guidry v. State, 9 S.W.3d 133, 154 (Tex. Crim. App. 1999); Cole v. State, 194 S.W.3d
538, 544 (Tex. App.--Houston [1st Dist.] 2006, pet. ref'd).  The State is permitted to draw
reasonable inferences from the evidence and is to be afforded wide latitude in its jury arguments as
long as counsel's argument is supported by the evidence and in good faith.  Stewart v. State,
995&nbsp;S.W.2d 187, 190 (Tex. App.--Fort Worth 1999, pet. ref'd) (citing Griffin v. State, 554 S.W.2d
688, 690 (Tex. Crim. App. 1977)).  

		We will separately address each of the arguments alleged to have been improper. 
First, we find the following arguments to be proper:



  Jimenez alleges that the State improperly argued that Jimenez could be convicted of both murder
and injury to a child. 



As will be explained in more detail below when discussing the alleged double
jeopardy violation, this was an accurate statement of the law.



  The prosecutor attacked the credibility of Dr. Kanfer during her closing:  "I don't have anything
personal to say about Dr. Kanfer.  I mean . . . the way he approaches his work is not my style. 
I don't really admire that.  That's not the way I do business.  That's not the way my expert
witnesses do business.  But we see all kinds of people in the courtroom, and we need to really
set aside the personal--personalities and listen to the evidence and listen to what rings true."  



This comment was merely a summation of the evidence elicited during the State's
cross-examination of Dr. Kanfer, during which the State attacked Dr. Kanfer's
qualifications, methodology, and neutrality.



  The prosecutor argued that Dr. Kanfer "was teaching people how to make a homicide scene look
like an accident."  



This argument was in response to Dr. Kanfer's admission during cross-examination
that he had published an abstract entitled, "How to turn a homicide into an accident." 
Jimenez alleges that the prosecutor took the title of the abstract out of context. 
However, Dr. Kanfer never explained the subject matter of the abstract.  Therefore,
the prosecutor's remark was a reasonable deduction from the evidence.



  The prosecutor argued that "agonal breathing" was not "breathing."  



Although this argument conflicted with the testimony of Dr. Kanfer, it was consistent
with the testimony of the 911 dispatcher who testified that laypersons often mistake
"agonal respirations" for "true breathing."  Therefore, the prosecutor's remark was
consistent with the evidence presented by the State.



  The prosecutor argued that Jimenez's neighbor Paula Salinas turned off Jimenez's oven before
the officers arrived at the scene.  



Although this argument conflicts with the testimony of Officer Larry Biegert, who
testified that the oven was still on when he accompanied Jimenez and Officer Torres
into the apartment, it is consistent with the testimony of Detective Walker, who
testified that Salinas told him that she had turned off the stove prior to the arrival of
the police.  The prosecutor acknowledged the conflicting testimony, and we find
nothing improper about the prosecutor asking the jury to resolve the conflicting
evidence in favor of the State's theory of the case.



  Jimenez alleges that at one point the prosecutor argued that Jimenez admitted putting her "whole
hand" into B.G.'s mouth.  



In actuality, the prosecutor argued that Jimenez told Detective De Los Santos, "Well,
I checked his mouth.  I didn't see anything, didn't feel anything."  We find this to be
an accurate summary of Jimenez's statements to Detective De Los Santos during her
interview.



  The prosecutor argued that Jimenez cleaned up her apartment prior to the arrival of the police. 



This was a reasonable deduction from the evidence.  Witnesses testified that Jimenez
returned to her apartment on at least two occasions after bringing B.G. to Vera's
apartment.  Detective Walker testified that the bottom of the blood-smeared bathtub
was wet when he searched Jimenez's apartment, which could suggest an effort by
Jimenez to clean up the bathroom.



  Jimenez alleges that at one point one of the prosecutors injected his "personal belief" into the
argument.  



Jimenez does not identify which specific comment she found objectionable and we
can find no impermissible comment on the page to which Jimenez cites.



  Finally, Jimenez alleges that the State mischaracterized the injuries on Jimenez's hand as bite
marks. (12) 



This was not a mischaracterization of the evidence.  Jimenez admitted to Detective
De Los Santos that B.G. bit her.  There was also a photograph of Jimenez's hand
admitted into evidence which showed what appeared to be a bite mark on Jimenez's
thumb.  Thus, calling the injuries bite marks was a reasonable deduction from the
evidence.



		We find the following arguments to be improper:



  Jimenez alleges that the State struck at Jimenez over the shoulders of her defense counsel by
commenting that Mr. Martinez "yelled at the top of his lungs, 'This is not a bite mark,'" and by
earlier contrasting her approach to closing argument to defense counsel's: "I have not a real
emotional approach to guilt / innocence.  I'm not going to scream at you.  I'm not going to wave
my arms.  I'm not going to call people names."



"Although it is impossible to articulate a precise rule regarding these kinds of
arguments, it is fair to say that a prosecutor runs a risk of improperly striking at a
defendant over the shoulder of counsel when the argument is made in terms of
defense counsel personally and when the argument explicitly impugns defense
counsel's character."  Mosley v. State, 983 S.W.2d 249, 259 (Tex. Crim. App. 1998).
Because the prosecutor's argument criticized defense counsel personally, we will
assume that it was improper.  See id.   




  The prosecutor referred to Officer Torres as the officer "who Mr. Martinez loved." 



This reference was in response to the following statement by defense counsel in his
closing argument: "Poor Torres.  I love that cop.  I love that cop.  Because he's not
a spinner.  He's got no axe to grind with anybody."  The prosecutor's reference to
defense counsel's comment had nothing to do with the evidence presented at trial. 



  The prosecutor argued that there was "fresh" blood on the pillow in Jimenez's bedroom.  



Detective Walker testified that he found what appeared to be dried blood on the sheet
and a pillowcase in the bedroom.  Detective Walker never testified that the blood was
fresh.  Thus, the prosecutor's remark was not a reasonable deduction from the
evidence.


  The prosecutor argued that there was a "fingerprint shape" in the blood smear on the bathtub.  



The State asserts that this was a reasonable deduction from Detective Walker's
testimony that a blood smear occurs when a person gets blood on his hands and
transfers it to another surface and from the pictures of the blood smear that were
admitted into evidence.  We disagree.  There were no fingerprints obtained from the
bathtub, and implying that the smear was "fingerprint shaped" was not a reasonable
deduction.  


  The prosecutor argued that she personally attempted to stuff five paper towels into her own
mouth and that "it was not a pretty sight." 



This argument was in response to defense counsel's suggestion during closing that
the State was "lazy" in its efforts to uncover the truth about what happened.  The
prosecutor's attempt to stuff paper towels into her mouth was not admitted into
evidence and it was thus improper for her to comment on it during her closing
argument. 



		Improper jury argument is reversible error when it (1) violates a statute, (2) injects
new and harmful facts into the case, or (3) is manifestly improper, harmful, and prejudicial to the
rights of the accused.  Wilson v. State, 938 S.W.2d 57, 59 (Tex. Crim. App. 1996); Lee v. State,
51&nbsp;S.W.3d 365, 371 (Tex. App.--Austin 2001, no pet.).  However,  "a defendant's failure to object
to a jury argument or a defendant's failure to pursue to an adverse ruling his objection to a jury
argument forfeits his right to complain about the argument on appeal."  Cockrell v. State,
933&nbsp;S.W.2d 73, 89 (Tex. Crim. App. 1996) (emphasis added).  Jimenez concedes that she failed to
object to any of the above arguments.  Thus, Jimenez failed to preserve error for review.  See Tex.&nbsp;R.
App. P. 33.1(a). 

		Furthermore, improper jury argument has been held to be non-constitutional error. 
See Mosely v. State, 983 S.W.2d 249, 259 (Tex. Crim. App. 1998).  Non-constitutional error that
does not affect substantial rights must be disregarded.  See Tex. R. App. P. 44.2(b).  In determining
whether improper jury argument affected a defendant's substantial rights, courts examine three
factors:  (1) the severity of the misconduct (the magnitude of the prejudicial effect of the prosecutor's
remarks), (2) the measures adopted to cure the misconduct (the efficacy of any cautionary instruction
by the judge), and (3) the certainty of conviction absent the misconduct (the strength of the evidence
supporting the conviction).  Mosely, 983 S.W.2d at 259.  

		The prosecutor's comments about defense counsel did not accuse counsel of
insincerity or bad-faith conduct, which is usually what qualifies as "striking over the shoulder" of
defense counsel.  See Fuentes v. State, 664 S.W.2d 333, 335 (Tex. Crim. App. 1984).  The
characterization of the blood on the pillowcase as being "fresh" and the argument about the blood
smear on the bathtub being "fingerprint shaped," although improper characterizations, were likely
rendered harmless in light of the fact that the majority of the State's argument focused on the blood
that was actually tested for DNA and was consistent with B.G.'s DNA profile.  Finally, the
prosecutor's comment about her own attempt to stuff paper towels into her mouth did not inject new
or harmful facts into the case, as there was already evidence in the record about people attempting
to put paper towels down their mouths.  Dr. Kanfer, in particular, testified to his own experiments
in which he determined that this was possible.  Also, defense counsel asked Detective De Los Santos
to wad paper towels together and attempt to force them into defense counsel's mouth, and the district
court allowed this demonstration.

		There were no cautionary instructions to disregard the improper arguments because
defense counsel did not object.  However, the third factor weighs against reversal because, as we
have already discussed, there was sufficient evidence supporting the conviction.  We conclude  that
any error in allowing the improper arguments, even if it had been preserved, was harmless.    


	Collective impact of the misconduct	

		In summary, with but one exception, the alleged prosecutorial misconduct of which
Jimenez complains was not objected to by defense counsel.  Thus, in order for the misconduct to
result in reversal, it must have "so infected the trial with unfairness as to make the resulting
conviction a denial of due process."  Darden, 477 U.S. at 181.  Jimenez argues that the State was
"out of control" throughout the proceedings and that the various acts of misconduct described above,
considered collectively, denied her due process and a fair trial.  In particular, Jimenez complains of
"heavy" sarcasm allegedly displayed by one of prosecutors throughout the trial.  We agree that the
prosecutor injected sarcasm into some of her objections, her closing argument, and her questioning
of Dr. Kanfer.  However, we do not agree with Jimenez's claim that the prosecutor's sarcasm in this
case entitles her to a new trial.   

		Jimenez cites two cases in which sarcasm has been called "unprofessional" and
"completely out of place."  See United States v. Diaz-Carreon, 915 F.2d 951, 957 n.10 (5th
Cir.&nbsp;1990); Von Burleson v. State, 505 S.W.2d 553, 555 (Tex. Crim. App. 1974).  The
characterization of sarcasm as "unprofessional" and "completely out of place" in these cases
reflected the context in which the sarcasm was displayed. In Diaz-Carreon, the prosecutor "used a
sarcastic tone of voice [during closing] when he stated the jury might disbelieve the Government's
witnesses."  915 F.2d at 957 n.10.  The court called this behavior "admittedly unprofessional."  Id. 
In Von Burleson, during the defendant's testimony, the defendant testified, "They messing with you
all the time out there if you have got a record."  505 S.W.2d at 555.  In response, the prosecutor
remarked, "In your case that's well justified."  Id.  The court characterized this remark as "low-keyed
sarcasm," and called it "completely out of place."  Id.  In neither case, however, did the court find
the sarcasm to be "inflammatory" and, thus, grounds for reversal.  See id.; Diaz-Carreon,
915&nbsp;F.2d&nbsp;at&nbsp;957. 

           		 Jimenez cites only one case in which a prosecutor's sarcasm resulted in reversal.  See
McKenzie v. State, 617 S.W.2d 211 (Tex. Crim. App. 1981).  However, in McKenzie, the
prosecutor's sarcasm was directed toward the defendant's character:  "The prosecutor was engaging
in heavy sarcasm, making appellant out as a pariah--a person deservedly shunned by his minister,
his old college classmate, his neighbors and parents of small children, though there was no evidence
whatsoever to support the branding."  Id. at 221.  In addition, the court emphasized that the sarcasm
was particularly damaging because the proof of defendant's guilt was "meager though sufficient." 
Id.  In contrast to McKenzie, the prosecutor's sarcasm in this case was not directed at the defendant
personally, and the evidence of Jimenez's guilt was certainly not "meager."  

		We disagree with Jimenez's claim that the prosecutor engaged in "heavy" sarcasm
throughout the trial akin to the sarcasm condemned in McKenzie.  We have reviewed the entire
record; thus, we are aware of the prosecutor's conduct throughout the trial, not just during the
isolated incidents of which Jimenez complains.  The prosecutor's conduct did not rise to a level that
it "so infected the trial with unfairness as to make the resulting conviction a denial of due process." 
Darden, 477 U.S. 181.  Again, because she did not object to the prosecutorial misconduct, Jimenez
bears the heavy burden of demonstrating that the evidence was "so insubstantial that (in probability)
but for the [misconduct] no conviction would have occurred."  Lynaugh, 852 F.2d at 838.  Based on
our review of the evidence, we conclude that Jimenez has not satisfied this burden.  We overrule
Jimenez's third point. 


Ineffective assistance of counsel

		In her fourth point, Jimenez claims that she was denied effective assistance of counsel
when her interim appellate attorney filed an amended motion for new trial and elected not to proceed
on the issues presented in the original motion for new trial.

		The original motion for new trial was timely filed on September 29, 2005, within
thirty days of the judgment of conviction.  See Tex. R. App. P. 21.4(b).  According to Jimenez, the
most important allegation in this motion was that the State 


[s]olicited from a police officer that [Jimenez's] forefinger had bite marks, and
argued to the jury that the Defendant had bite marks, but the State knew those marks
were not bite marks but hyper-pigmentation from an old burn.  That was the reason
[the State's] dental expert was not called, and no medical expert was asked to
identify these marks.  The defense pathologist was not even cross-examined on the
issue because the prosecution knew they were not bite marks, and defense expert also
stated that these were not bite marks.



Jimenez was granted a hearing on the motion, which was consistent with a conclusion by the district
court that one of the claims alleged in the motion, if true, could entitle Jimenez to a new trial.  See
Reyes v. State, 849 S.W.2d 812, 815 (Tex. Crim. App. 1993) (holding that "when an accused
presents a motion for new trial raising matters not determinable from the record, upon which the
accused could be entitled to relief, the trial judge abuses his discretion in failing to hold a hearing."). 
		While this new-trial motion was pending, the attorney who filed it withdrew.  On
October 19, 2005, interim appellate counsel was appointed to represent Jimenez.  Interim counsel
filed an amended motion for new trial on October 28, 2005, more than thirty days after the judgment
of conviction.  At the hearing on the motion for new trial, counsel argued that the district court had
discretion to allow the amended motion.  After a lengthy debate between the State and defense
counsel on the merits of this argument, the district court sustained the State's objection to the
amended motion.  Defense counsel then proceeded to introduce evidence of the claims alleged in the
amended motion, which the district court allowed in the form of a bill of exceptions.  Defense
counsel informed the district court that they had "jettisoned a number of claims" in the original
motion that in their "opinion were not meritorious."  Following the hearing, the district court denied
the motion for new trial.

		Jimenez's argument on appeal is as follows:  "Appellant had claims in her original
motion for new trial that, if true, would have entitled her to relief, and was prejudiced by waiver of
those claims, for which there was no strategic reason."  Thus, we must determine whether counsel's
decision to not argue the claims in the original motion for new trial constituted ineffective assistance
of counsel.  We begin with the two-pronged analysis in Strickland v. Washington, 466 U.S. 668
(1984). (13)  Pursuant to Strickland, Jimenez must demonstrate (1) that her counsel's performance was
deficient, i.e., it fell below an objective standard of reasonableness, and (2) that Jimenez was
prejudiced by the deficient performance, i.e., a reasonable probability exists that, but for the deficient
performance, the result of the proceeding would have been different. 466 U.S. at 687-88, 694;
Ex&nbsp;parte Cash, 178 S.W.3d 816, 818 (Tex. Crim. App. 2005).


	Deficient performance

		In reviewing an ineffective assistance of counsel claim, we indulge a strong
presumption that counsel was competent.  Thompson v. State, 9 S.W.3d 808, 813 (Tex. Crim. App.
1999).  Appellant bears the burden of proving by a preponderance of the evidence that counsel was
ineffective.  Id.   Any allegation of ineffectiveness must be firmly founded in the record, and the
record must affirmatively demonstrate the alleged ineffectiveness.  Id. at 813; see also Janecka
v.&nbsp;State, 937 S.W.2d 456, 476 (Tex. Crim. App. 1996) (appellate court may not consider on direct
appeal any factual assertions that are outside the record).   If counsel's reasons for his conduct do not
appear in the record and there is at least the possibility that the conduct could have been legitimate
trial strategy, we will defer to counsel's decisions and deny relief on direct appeal.  Ortiz v. State,
93 S.W.3d 79, 89 (Tex. Crim. App. 2002).  In most instances, the record on direct appeal is
inadequate to develop an ineffective assistance claim.  Ex parte Torres, 943 S.W.2d 469, 475
(Tex.&nbsp;Crim. App. 1997).  Moreover, the record ordinarily does not reflect counsel's reasons for doing
or failing to do actions of which the defendant complains.  Id.  Hence, in most ineffective assistance
claims, a writ of habeas corpus is essential to gathering the facts necessary to adequately evaluate
such claims.  Id.

		In this case in particular, we cannot evaluate the reasons for counsel's actions without
an evidentiary hearing.  Jimenez raised a claim in her original motion for new trial that, if true,
would potentially entitle her to a new trial.   A key piece of evidence in the State's case was the
alleged bite mark.  If the State had in its possession evidence from a forensic odontologist that this
was not necessarily a bite mark, decided to withhold this evidence, and then took a position during
trial that was contrary to this evidence, these actions would have implicated Jimenez's right to a fair
trial.  See Giglio v. United States, 405 U.S. 150, 153 (1972) (holding that "deliberate deception of
a court and jurors by the presentation of known false evidence is incompatible with rudimentary
demands of justice."); Napue v. Illinois, 360 U.S. 264, 269 (1959) (holding that "a conviction
obtained through use of false evidence" violates due process, as does a conviction obtained "when
the State, although not soliciting false evidence, allows it to go uncorrected when it appears.").  If
this claim was true, counsel would have been deficient in abandoning it because no reasonably
competent defense attorney would abandon a winning claim that would result in a new trial for his
client.  See Giglio, 405 U.S. at 155 (holding that remedy for Napue violation is reversal of conviction
and remand for new trial).   On the other hand, if this claim was not true, or if there was simply
insufficient evidence to support the claim, then counsel would not have been deficient in abandoning
it.  Thus, an evidentiary hearing on counsel's performance would have allowed Jimenez the
opportunity to submit evidence of why she believed that the claim had merit, allowed interim counsel
the opportunity to submit evidence of why they believed otherwise, and allowed the district court
the opportunity to examine the evidence submitted and determine which side was correct.  The losing
side would likely have appealed the district court's decision, and this Court would then have had an
opportunity to examine the evidence on which the district court relied.  But on direct appeal, in the
absence of any evidence to examine, we simply have no basis to conclude that counsel's
representation was deficient.  To hold that the representation by Jimenez's counsel was deficient
without a proper record exploring the basis for counsel's decision to abandon the original motion
would require this court to speculate as to counsel's motivation and reasoning, which we may not
do.  See De Los Santos v. State, 219 S.W.3d 71, 75 (Tex. App.--San Antonio 2006, no pet.).

		However, Jimenez argues that she had already been granted an evidentiary hearing
on this claim, but that counsel, by abandoning the claim, effectively denied Jimenez her right to the
hearing.  Again, we do not know the specific reasons for counsel's decision to abandon the claim. 
However, we do know that, during the hearing, counsel characterized the abandoned claims as "not
meritorious."  Such a statement suggests that counsel evaluated the claim prior to the hearing and
made a judgment call that it would not succeed on the merits.  On this record, we are not in a
position to second-guess counsel's decision. 

 		Jimenez also claims that counsel was deficient in attempting to proceed on an
amended motion for new trial that had been filed more than 30 days after the judgment of conviction. 
Jimenez argues that this decision was "per se unreasonable" because no reasonably competent
defense attorney would have engaged in this conduct for any reason.  See Mata v. State, 226 S.W.3d
425, 2007 Tex. Crim. App. LEXIS 695, at *6 (Tex. Crim. App. June 6, 2007) (citing Vasquez
v.&nbsp;State, 830 S.W.2d 948, 951 (Tex. Cr. App. 1992)).  We disagree.  Assuming that counsel made
a determination prior to the hearing that the claims in the original motion were not meritorious,
counsel was faced with the following dilemma: argue a timely filed motion to the district court that
counsel did not believe would succeed on the merits, or file an untimely amended motion for new
trial containing claims that counsel believed were meritorious. (14)   

		Given those options, counsel's decision to proceed with the untimely amended motion
was not per se unreasonable.  At the hearing, counsel argued that the district court had discretion to
consider the untimely motion.  Although the court of criminal appeals recently held otherwise, see
State v. Moore, 225 S.W.3d 556, 2007 Tex. Crim. App. LEXIS 696, at *6 (Tex. Crim. App. 2007),
at the time of the hearing on the motion for new trial, we do not think that this was an unreasonable
argument.  Rule of appellate procedure 21.4 provides that "[w]ithin 30 days after the date when the
trial court imposes or suspends sentence in open court but before the court overrules any preceding
motion for new trial, a defendant may, without leave of court, file one or more amended motions for
new trial."  Tex. R. App. P. 21.4(b) (emphasis added).  We do not think that it was unreasonable for
counsel to infer from this language that after the 30 days have expired, a defendant may file an
amended motion for new trial with leave of court.  In other words, we think that a legitimate
argument could have been made, prior to Moore, that the trial court has discretion to allow a
defendant to file an amended motion after the 30-day deadline. (15)  Furthermore, counsel's position
was strengthened by the equitable consideration that they had not been appointed to represent
Jimenez until after the 30 days had already expired.  Thus, interim counsel did not have an
opportunity to timely file an amended motion.  

		On this record, we cannot conclude that interim counsel's performance was deficient. 


	Prejudice            

		Furthermore, Jimenez must also prove prejudice, i.e., that there is a reasonable
probability that, but for counsel's unprofessional errors, the result of the proceeding would have been
different.  See Strickland, 466 U.S. at 694.  As an initial matter, we must determine the proper focus
of our inquiry.  The State argues that we should consider whether the motion for new trial would
have been granted but for counsel's deficient performance.  Jimenez asserts, in a supplemental brief
filed with this Court following oral argument, that the focus should be "not on whether [she] would
have won or lost at the motion for new trial hearing, but on whether, but for trial counsel's error,
[she] would have had the hearing she was entitled to under Reyes."  See 849 S.W.2d at 216.  In other
words, according to Jimenez, she "does not have to prove that any of the claims raised in her motion
for new trial would ultimately have succeeded in order to entitled to relief."  All she needs to show
is that the district court would have heard her claims had counsel not abandoned them. 

		We are aware of no authority, and Jimenez cites no authority, that would allow us to
sustain a claim of ineffective assistance of counsel based merely on a showing that the district court
would have heard the defendant's claims.  In fact, Jimenez's position seems contrary to the express
language in Strickland holding that courts are to focus on the "result" and the "outcome" of the
proceeding, whatever that proceeding may be.  See 466 U.S. at 694 ("The defendant must show that
there is a reasonable probability that, but for counsel's unprofessional errors, the result of the
proceeding would have been different. A reasonable probability is a probability sufficient to
undermine confidence in the outcome." (emphases added)). (16)  The State's position, on the other hand,
is consistent with both Strickland and Texas precedent.  See, e.g., Redmond v. State, 30 S.W.3d 692,
699 (Tex. App.--Beaumont 2000, pet. ref'd) (holding that defendant "failed to establish prejudice
by demonstrating that the motion for new trial would have been granted had the trial court conducted
the evidentiary hearing."); Bacey v. State, 990 S.W.2d 319, 334 (Tex. App.--Texarkana 1999, no
pet.) (no prejudice shown from counsel's failure to timely obtain hearing on motion for new trial); 
Bryant v. State, 974 S.W.2d 395, 400 (Tex. App.--San Antonio 1998, pet. ref'd) (no prejudice
shown from counsel's failure to file motion for new trial).  Therefore, we agree with the State that
in order to show prejudice, Jimenez must demonstrate that there is a reasonable probability that, but
for counsel's alleged unprofessional errors, the district court would have granted Jimenez a new trial. 

		Jimenez failed to make this showing.  In cases of suppression or nondisclosure of
evidence by the State, the standard for determining whether to grant a new trial is whether the
evidence "may have had an effect on the outcome of the trial."  See Napue, 360 U.S. at 272; Graham
v. State, 486 S.W.2d 92, 96 (Tex. Crim. App. 1972).  There is no indication in the record that an
odontologist's report favorable to Jimenez existed.   The only evidence that Jimenez cites in the
record to support her claim is State's Exhibit 103, the affidavit for the search warrant of Jimenez's
person.  In the affidavit, the affiant makes the following statement:  "Det. W.E. Harrison advised
affiant that a Dentist trained in forensic ondontology was consulted to analyze the bite mark on the
finger of Jimenez.  The Dentist requires ultraviolet photographs of the bite mark to perform the
requested analysis."  This does not indicate that the analysis was actually performed or, if it was,
what the results of that analysis were.  On this record, we cannot say that the evidence cited by
Jimenez may have had an effect on the outcome of the trial. Therefore, there is not a reasonable
probability that, even if counsel had pursued Jimenez's Napue claim, she would have been granted
a new trial. (17)  We overrule Jimenez's fourth point of error.


Double jeopardy

		In her fifth point, Jimenez asserts that her convictions for both felony murder and
injury to a child violated her Fifth Amendment (18) protection against double jeopardy because both
offenses arose out of the same criminal episode. (19)  

		The Fifth Amendment guarantee against double jeopardy protects against:  (1) a
second prosecution for the same offense following conviction; (2) a second prosecution for the same
offense following acquittal; and (3) multiple punishments for the same offense.  Illinois v. Vitale,
447 U.S. 410, 415 (1980); Cervantes v. State, 815 S.W.2d 569, 572 (Tex. Crim. App. 1991);
Williams, 2007 Tex. App. LEXIS 5960, at *12.  When the same act or transaction violates two
different penal statutes, the two offenses are the same for double-jeopardy purposes if one of the
offenses contains all the elements of the other.  Blockburger v. United States, 284 U.S. 299, 304
(1932). Cumulative punishment may be imposed where separate offenses occur in the same
transaction, as long as each conviction requires proof of an additional element that the other does
not. Id.; Phillips v. State, 787 S.W.2d 391, 394 (Tex. Crim. App. 1990). Absent indication of
contrary legislative intent, it is presumed that the legislature did not intend to authorize multiple
punishments for two offenses that are the same under  the Blockburger test.  Whalen v. United States,
445 U.S. 684, 691-92 (1980); Duvall v. State, 59 S.W.3d 773, 780 (Tex. App.--Austin
2001,&nbsp;pet.&nbsp;ref'd).

		However, the Double Jeopardy Clause does not impose a limitation on the legislative
prerogative to prescribe the scope of punishment.  Missouri v. Hunter, 459 U.S. 359, 368 (1983);
Ex&nbsp;parte Kopecky, 821 S.W.2d 957, 958-59 (Tex. Crim. App. 1992); Johnson v. State, 208 S.W.3d
478, 510 (Tex. App.--Austin 2006, pet. ref'd).  A defendant suffers multiple punishments in
violation of the Fifth Amendment only when she is convicted of more offenses than the legislature
intended. Ex parte Ervin, 991 S.W.2d 804, 807 (Tex. Crim. App. 1999). When a legislature
specifically authorizes multiple punishments under two statutes, even if those two statutes proscribe
the "same" conduct, "a court's task of statutory construction is at an end and the prosecutor may seek
and the trial court or jury may impose cumulative punishment under such statutes in a single trial." 
Hunter, 459 U.S. at 368-69; Johnson, 208 S.W.3d at 511.

		The injury-to-a-child statute provides:


A person who is subject to prosecution under both this section and another section
of this code may be prosecuted under either or both sections. Section 3.04
[mandatory severance] does not apply to criminal episodes prosecuted under both this
section and another section of this code. If a criminal episode is prosecuted under
both this section and another section of this code and sentences are assessed for
convictions under both sections, the sentences shall run concurrently.



Tex. Penal Code Ann. § 22.04(h).  

		This Court has previously held that "[t]his statute plainly authorizes multiple
punishments when a defendant's conduct violates both section 22.04 and another penal code
section."  Johnson, 208 S.W.3d at 511.  

		We overrule Jimenez's fifth point of error.

				


CONCLUSION

		We affirm the judgment of the district court.


						___________________________________________

						Bob Pemberton, Justice

Before Justices Puryear, Pemberton and Waldrop

Affirmed

Filed:   August 31, 2007

Publish
1.   Intubation, as described in the record, is the process of inserting a tube through a person's
vocal cords directly into the trachea to enable the person to breathe.
2.   The report filed by Rojo and Curr also referred to the item as "soaked."  However, during
the defense's case-in-chief, Curr was recalled to the witness stand and testified that the paper towels,
although wet, were not "soaked to the point where water's running off of it."  
3.   The exact size of the mass at the moment it was removed from B.G.'s throat is unclear
from the record.  At the time it was photographed, it measured approximately three inches in length
and width and was approximately one-and-three-fourths inches thick.  However, several witnesses
testified that the wad of paper towels likely expanded in size after it was removed from the child's
throat and began to dry.  
4.   De Los Santos testified that Jimenez was not under arrest during the interview and that she
was free to leave at any time.  The voluntariness of Jimenez's statements during the interview and
whether they were the product of custodial interrogation are not issues on appeal.
5.   The transcript contained both the Spanish and the English versions of the interview, with
the Spanish on the left side of the page and the English on the right side of the page.
6.   The medical examiner who performed the autopsy was Dr. Vladimir Parungao.  The
defense called him as a witness, attacking his credibility and questioning his finding that the death
was a homicide, suggesting that his conclusion was influenced by what the police officers had told
Parungao about the status of the investigation and whether Jimenez had confessed to the crime.  On
cross-examination, Dr. Parungao stood by his finding that the death was a homicide.    
7.   During this testimony, the State and Dr. Kanfer had exchanges that are one of the subjects
of Jimenez's prosecutorial misconduct issue.  We discuss these exchanges below.  
8.   This statement was in response to defense counsel's comment during closing, "Where is
their . . . forensic orthodontist [sic]?  Nowhere."  Later in the argument, defense counsel added, "You
[the State] won't get the forensic odontologist that you consulted and that's not in this court to testify
because it ain't no bite [sic].  So stop calling it a bite.  It ain't no bite [sic]."  These remarks and the
prosecutor's response to them will be discussed in more detail below, when we discuss Jimenez's
prosecutorial misconduct and ineffective assistance of counsel issues.
9.   Jimenez also complains that the prosecutor's use of sarcasm deprived him of a fair trial. 
We discuss that contention below. 
10.   Jimenez also contends that this statement was a mischaracterization of the evidence.  It
was not.  Multiple witnesses, including Dr. Kanfer, testified that Jimenez had more than one injury
on her hand. 
11.   See Tex. R. Evid. 614 ("At the request of a party the court shall order witnesses excluded
so that they cannot hear the testimony of other witnesses, and it may make the order of its own
motion.").
12.   Jimenez alleges that the State employed a forensic odontologist "who apparently did not
confirm that the scars on Appellant's hand were fresh bite marks."  As will be discussed in more
detail below when discussing Jimenez's ineffective assistance of counsel issue, this allegation is not
supported in the record.
13.   Citing Vasquez v. State, 830 S.W.2d 948 (Tex. Crim. App. 1992),  Jimenez asserted during
argument that because counsel's actions were "per se unreasonable," the analysis in Strickland does
not apply to this case.  However, the court in Vasquez did, in fact, apply the two-pronged Strickland
analysis.  See id. at 949.  The only time that the Strickland analysis does not apply is when prejudice
is "presumed."  See United States v. Cronic, 466 U.S. 648, 659 (1984).  Prejudice is presumed "only
when the defendant demonstrates that counsel was not merely incompetent but inert, distinguishing
shoddy representation from no representation at all." Gochicoa v. Johnson, 238 F.3d 278, 284
(5th&nbsp;Cir. 2000). "When the defendant complains of errors, omissions, or strategic blunders, prejudice
is not presumed; bad lawyering, regardless of how bad, does not support the per se presumption of
prejudice."  Id. at 284-85.  Jimenez alleges errors, omissions, or strategic blunders in counsel's
representation. Therefore, this is not the type of case in which we may presume prejudice.  See id.
14.   Jimenez asserts that the claims in the amended motion for new trial were not meritorious. 
However, without a record explaining the reasons for counsel's decision to argue these claims, we
are not in a position to declare counsel's performance deficient simply because Jimenez now believes
that the claims may not have ultimately succeeded.  Jimenez also asserts that the amended motion
was deficient in that it was not sworn or supported by affidavit.  However, the requirement that a
motion for new trial be supported by affidavit "is applicable only to cases where the motion is
grounded on matters that are not already a part of the case record."  Bahm v. State, 219 S.W.3d 391,
395 (Tex. Crim. App. 2007).  As Jimenez concedes in her brief, the amended motion "challenged
only record claims."    
15.   We note that this interpretation of the rule was contrary to then-existing precedent.  See,
e.g., Mercier v. State, 96 S.W.3d 560, 562 (Tex. App.--Fort Worth 2002, no pet.); Flores v. State,
18 S.W.3d 796, 798 (Tex. App.--Austin 2000, no pet.).  However, the court of criminal appeals had
not yet addressed this specific issue, and at the time the amended motion was filed, a case was
pending in the United States Supreme Court on a similar issue involving the federal rules.  See
Eberhart v. United States, 546 U.S.12, 19-20 (2005) (holding that although federal rule on deadline
for filing motion for new trial is "inflexible," government may "forfeit" timeliness defense by not
raising it prior to consideration of motion's merits). 
16.   Citing Hill v. Lockhart, 474 U.S. 52 (1985), Jimenez argues in her supplemental brief that
prejudice means "different things in different situations."  See id. at 59 (holding that in Strickland
cases involving guilty pleas, "the defendant must show that there is a reasonable probability that, but
for counsel's errors, he would not have pleaded guilty and would have insisted on going to trial."). 
However, even Hill concerned an outcome.  Pleading guilty produces a different outcome than
pleading not guilty--not going to trial versus going to trial.     
17.   We again note that if, as Jimenez alleges, there is evidence outside the record that the State
suppressed material evidence, she should raise her ineffective assistance of counsel claim in a
petition for writ of habeas corpus. 
18.   Jimenez also alleges violations of the Texas Constitution and the code of criminal
procedure.  See Tex. Const. art. I, § 14; Tex. Code Crim. Proc. Ann. art. 1.10 (West 2005). 
However, she does not argue that the protection against double jeopardy under Texas law is any
different than the protection afforded under federal law.  Therefore, we overrule any arguments under
these provisions as inadequately briefed.  See Russeau v. State, 171 S.W.3d 871, 881 (Tex. Crim.
App. 2005) (citing Tex. R. App. P. 38.1(h)). 
19.   It does not appear from the record that Jimenez preserved her double jeopardy objection
at or before the time that the charge was submitted to the jury.  However, a double jeopardy claim
may be raised for the first time on appeal if the violation is clearly apparent on the face of the record
and when enforcement of the usual rules of procedural default would serve no legitimate state
interests.  Gonzalez v. State, 8 S.W.3d 640, 643 (Tex. Crim. App. 2000).  Because it is undisputed
that the two convictions in this case are based on the same conduct, if there is a double jeopardy
violation it is clearly apparent on the face of the record.  Johnson v. State, 208 S.W.3d 478, 510
(Tex. App.--Austin 2006, pet. ref'd).  Furthermore, because both convictions arose out of the same
trial, enforcement of the usual rules of procedural default would serve no legitimate state interest. 
Id.  Therefore, Jimenez may raise her double jeopardy claim for the first time on appeal.     


